UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

 

MAGNOLIA FLEET, LLC, and CIVIL ACTION NO:
MAGNOLIA MIDSTREAM, LLC

SECTION “”
Plaintiffs Judge :

DIVISION
VERSUS Judge:

Rule 9(h) - Admiralty
GRIFFIN BARGE LINE, LLC,

Defendant

 

 

VERIFICATION OF RULE B COMPLAINT
I, W. Daniel Weidner, IV, declare and state:

l. That l am an Officer of both Magnolia Fleet, LLC and Magnolia Midstream, LLC,
the plaintiffs in the above styled action As an Officer of Magnolia Fleet7 LLC and
Magnolia Midstream7 LLC, I am authorized on behalf of plaintiffs to make this
statement, and l make this statement for that reason.

2. I am over the age of 18 and I am competent to make and swear to the statements
made herein l have personal knowledge of the facts herein stated, and such facts
are true and correct and are based on my personal knowledge

3. l verify under solemn affirmation that the facts alleged in Magnolia Fleet, LLC and
Magnolia Midstream, LLC’s Complaint are true and correct to the best of my
knowledge and information based upon the records of Magnolia Fleet, LLC and
Magnolia Midsrteam, LLC except as to any matters stated to be alleged upon

information and belief, and as to those matters, l believe them to be true.

4. Pursuant to 28 U_S.C. §1746, l solemnly declare under penalty of perjury that the

foregoing is true and correct.

Executed on the § 3 day of October, 2018.

®PWN lb mla/31

W. Daniel Weidner, IV

